Case 2:20-cv-02600-SHL-tmp Document 308 Filed 11/28/22 Page 1 of 2                        PageID 5631




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

  AMERICAN SPIRIT AND CHEER                          )
  ESSENTIALS, INC., et al.,                          )
          Plaintiffs,                                )
                                                     )          No. 2:20-cv-02782-SHL-tmp
  v.                                                 )
                                                     )
  VARSITY BRANDS, LLC, et al.,                       )
          Defendants.                                )


                  ORDER DENYING PLAINTIFFS’ MOTION TO MODIFY
                          PREVIOUS DISCOVERY ORDER


        Before the Court is Plaintiffs’ Motion to Modify Previous Discovery Order, filed

 November 18, 2022, (ECF No. 290), and Defendants’ Corrected Response, filed November 22,

 2022, (ECF No. 293). On November 10, the Court entered an Order Granting in Part and

 Denying in Part Defendants’ Motion to Modify Previous Discovery Orders (“November 10

 Order”), (ECF No. 284), in which the Court adopted limited restrictions on the sharing of expert

 reports between the Plaintiffs in this case and the related cases, given diverging case timelines.

 Plaintiffs argue that said Order now exposes them to potential ex post facto violations.

 Specifically, Plaintiffs note that the various groups of Plaintiffs shared expert reports as far back

 as June 20, 2022, pursuant to the Court’s previous discovery orders that permitted such sharing.

 (ECF No. 290 at PageID 6057.) Plaintiffs aver that the Court’s November 10 Order, which bars

 this sharing with the American Spirit Plaintiffs until after Defendants disclose their own reports,

 imposes a condition which they have already violated, and the November 10 Order should

 therefore be amended to clarify that it will only be applied proactively. (Id. at PageID 6062.)
Case 2:20-cv-02600-SHL-tmp Document 308 Filed 11/28/22 Page 2 of 2                        PageID 5632




          Defendants respond that no reasonable reading of the November 10 Order would lead to

 the result suggested by Plaintiffs, or that at least Defendants did not understand the Order to lead

 to that result. (ECF No. 293 at PageID 6072-73.) Defendants argue that it would be

 unreasonable to hold Plaintiffs in violation of the November 10 Order for sharing that occurred

 far in advance of Defendants ever even moving for relief; Defendants filed their motion to

 modify the discovery orders concerning sharing on September 19, 2022, (ECF No. 259).

 Defendants also note that Plaintiffs filed their Motion roughly four hours after first raising the

 issue with Defendants through email, before Defendants responded. (ECF No. 293 at PageID

 6072.)

          Because Defendants have clarified that they interpret the November 10 Order to not

 apply in the manner Plaintiffs have suggested, and that they will therefore not seek to enforce it

 in a manner that would impose ex post facto penalties on Plaintiffs, the Court finds revision of

 the November 10 Order unnecessary and therefore DENIES Plaintiffs’ Motion.

          It must be emphasized that Plaintiffs failed to raise this concern in their Response to

 Defendants’ previous motion to modify the discovery orders. (See generally ECF No. 261.)

 That Response was filed on October 3, 2022. The sharing of expert reports pointed to by

 Plaintiffs in the instant Motion occurred on June 20, 2022. Plaintiffs were therefore fully aware,

 or should have been fully aware, of the sharing that had already occurred yet they failed to raise

 this concern in their Response, depriving the Court of the opportunity to address it in the

 November 10 Order. The Court is not omnipotent. If Plaintiffs have concerns such as these,

 they must properly and timely apprise the Court.

          IT IS SO ORDERED, this 28th day of November, 2022.
                                                s/ Sheryl H. Lipman
                                                SHERYL H. LIPMAN
                                                UNITED STATES DISTRICT JUDGE

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